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                                       UNTTED STATES DISTRICT COURT
                                          DISTRiCT OF NEW JERSEY                                                 -     -




           UNITED STATES OP AMIRlCA                                   Honorable Douglas Arpert
                     V.                                     :         Mag. No, 12-2547(DA)
           RANDY BINDER

                                                                      ORDER FOR CON’l’INUANCE


                  This matter having been opeued to th Court by
                                                                       Paul J. 1!ishman, United States Attorney for
          the District of New Jersey (Jonathan W. Rornankow,
                                                                        Assistant U.S. Attorney, appearing,
                                                                                                                  and
          defendant RANDY BINDER (Stcvcn 7
                                         Altman             Esq appearing), for an order granting a continuance
                                                                  ,




          of the procecdings in the above-captioned matter
                                                                  ; and four continurnces having previously
                                                                                                                been
          granted; and the defendant being aware that he
                                                         has the      right to have the matter presented to a Grand
          Jury within thirty (30) days of the date of his
                                                             arrest pursuant to Title 18 USC.
                                                                                                   § 3161; and the
         defendant through his attorney having waived
                                                           such rights and consented to the continuance;
                                                                                                             undfor
         good and sffjejent cause shown,

                 IT IS THE F1ThJ DING OF THIS COUR
                                                                T thai. this action should be continued for
                                                                                                                 the
         following reasons:

                           L Plea negotiations currently are in progre
                                                                       ss, and both    the United States and the
                defendant desire additional time to enter
                                                                a plea in Court, which would thereby render
                                                                                                               trial
                of this irw.tter unnecessary.

                          2. Defendant has consented to the
                                                                ai:brcmentionecl continuance,
                          3. The grant of a continuance
                                                          wfll likely conserve judicial rosourees.
                          4. Pursuant to Title 18 of the United
                                                                   States Code, Section 3161(h)(7)(A), the
                                                                                                              ends
               ofjustice served by granting the continu
                                                          ance outweigh the best interests of
                                                                                                the public arid the
               defendants in a speedy trial.
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                WFthREFORE, crn this       day of
                                                                      / ,2013;
                ORDERED that the proceedings iu the above-cuptioned matter are contin
                                                                                      ued from ftbruar  y
       19. 2013 through April 19, 2013; and it is further

                ORD1RED thai th pcriod hetwe&n from February 19,201
                                                                         3 through April 19, 2013 shall ho
       excludable in computing time under the Spcedy Trial Act of
                                                                    19.74.




                                            HON. DOUGAS PERT
                                            United StateWMagistrte Judge




      Form wid




            .THAN ROMANKOW
          ;tant U.S. Attorney




     STEVEN ALTMAN, Esq
                            1   .
                                ......




     Counsel for Defendant Randy Binder




                                                                                                 TOTRL P.04
